ANTHONY SCORDO, ESQ. P.C.
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Proposed attorney for plaintiff, Barbara Ann Hartke
Pro hac vice

                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK




 BARBARA ANN HARTKE, an individual
 on her own behalf and on behalf of the Estate
 of decedent Gilbert V. Hartke


        Plaintiff,
                                                 Civil Action No.: 22-3571
 v.

 BONHAM’S & BUTTERFIELD’S
 AUCTIONEERS CORPORATION, A
 DELAWARE CORPORATION; THE
 CATHOLIC UNIVERSITY OF AMERICA,
 A NON-PROFIT DISTRICT OF
 COLUMBIA CORPORATION

        Defendants.




                                                      ORDER FOR ADMISSION
                                                      PRO HAC VICE
                                                      ON WRITTEN MOTION



       Upon his own motion and affidavits in support;
       IT IS HEREBY ORDERED that
              Applicant’s Name: Anthony Scordo

               Firm Name:             Anthony Scordo, Esq. PC

               Address:               1425 Pompton Avenue, Suite 2-2

               City/State/Zip:        Cedar Grove, NJ 07009

               Phone Number:          (973) 837-1861

               Fax Number:            (973) 837-9650

               Email Address:         anthonyscordo@msn.com

is admitted to practice pro hac vice as counsel for the above named Defendants in the above

captioned case in the United States District Court for the Southern District of New York. All

attorneys appearing before this Court are subject to the Local Rules of this Court, including the

Rules governing discipline of attorneys. If this action is assigned to the Electronic Case Filing

(ECF) system, counsel shall immediately apply for an ECF password at nysd.uscourts.gov.

Counsel shall forwards the pro hac vice fee to the Clerk of Court.



Dated: May 6, 2022
City, State: New York, NY




                                      _____________________________________
                                                                    U.S.D.J.
